          IN THE UNITED STATES DISTRICT COURT FOR THE
              WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CIVIL NO. 1:06CV373-3-T
                              [1:02CR105-T]


MICHAEL ANTHONY JENKINS,                  )
                                          )
                  Petitioner,             )
                                          )
            v.                            )      MEMORANDUM AND
                                          )         ORDER
UNITED STATES OF AMERICA,                 )
                                          )
              Respondent.                 )
_____________________________             )


      THIS MATTER is before the Court on the Petitioner’s motion to

vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255, and

his “Consent for Recharacterization and Amendment of Writ of Habeas

Corpus,” filed December 18, 2006. For the reasons stated herein, the

Petitioner’s motion is denied.



                        I. PROCEDURAL HISTORY

      On December 2, 2002, Petitioner and 12 co-Defendants were

charged by bill of indictment with conspiracy to possess with intent to

distribute at least fifty grams of cocaine base, in violation of 21 U.S.C. §§


   Case 1:02-cr-00105-MR-WCM      Document 371    Filed 05/16/07   Page 1 of 8
                                      2

841 and 846; Petitioner and two co-Defendants were charged in a second

count of the indictment of using a firearm during and in relation to a drug

trafficking crime, and brandishing said firearm, and aiding and abetting that

offense, in violation of 18 U.S.C. §§ 924(c)(1) and (2). Bill of Indictment,

filed December 2, 2002. On February 28, 2003, the Petitioner and the

Government entered into a plea agreement wherein the Petitioner agreed

to plead guilty to Counts One and Two of the Indictment. Plea

Agreement, filed February 28, 2003. On the same day, the Petitioner

appeared before the Magistrate Judge for entry of his plea. After

conducting the lengthy colloquy required by Rule 11, the Magistrate Judge

found the Petitioner had knowingly and voluntarily entered his plea; he

understood the charges, potential penalties, and consequences of said

plea , and the Magistrate Judge accepted Petitioner’s guilty plea. Rule 11

Inquiry and Order of Acceptance of Plea, filed February 28, 2003.

      On March 19, 2004, this Court sentenced Petitioner to 208 months

imprisonment on Count One and a consecutive sentence of 84 months on

Count Two, for a total of 292 months imprisonment. The Court also

sentenced Petitioner to four years of supervised release on Counts One

and Two to run concurrently. Judgment in a Criminal Case, filed April



   Case 1:02-cr-00105-MR-WCM     Document 371     Filed 05/16/07   Page 2 of 8
                                        3

14, 2004, amended as to supervised release only, filed June 14, 2004.

Petitioner appealed his case to the Fourth Circuit Court of Appeals; that

Court affirmed the Petitioner’s conviction and sentence on December 19,

2005.

        Petitioner filed this motion on November 17, 2006, alleging that his

attorney was ineffective for failing to object to his prior state conviction for

assault on a female being used for his designation as a career offender

under § 4B1.1 of the Sentencing Guidelines because such conviction does

not qualify as a prior felony conviction.



                         II. STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether the petitioner is entitled to any

relief on the claims set forth therein. In the event it is determined that the

petitioner is not entitled to relief, the reviewing Court must dismiss the

motion.




   Case 1:02-cr-00105-MR-WCM       Document 371    Filed 05/16/07   Page 3 of 8
                                       4

      Following such directive, this Court has reviewed the Petitioner’s

motion and the record of criminal proceedings. As hereafter explained,

such review clearly establishes that the Petitioner is not entitled to any

relief on his claims.



                                III. ANALYSIS

      With respect to claims of ineffective assistance of counsel, a

petitioner must show that counsel’s performance was constitutionally

deficient to the extent that it fell below an objective standard of

reasonableness, and that he was prejudiced thereby. Strickland v.

Washington, 466 U.S. 687-91 (1984). In making this determination, there

is a strong presumption that counsel’s conduct was within the wide range

of reasonable professional assistance. Id. at 689; see also Fields v.

Attorney Gen. of Maryland, 956 F.2d 1290, 1297-99 (4th Cir. 1985);

Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983); Marzullo

v. Maryland, 561 F.2d 540 (4th Cir. 1977).

      Petitioner claims counsel was ineffective because he failed to object

to Petitioner’s prior state court conviction for assault on a female being

used as a prior felony conviction supporting his designation as a career



   Case 1:02-cr-00105-MR-WCM      Document 371     Filed 05/16/07     Page 4 of 8
                                        5

offender. Petitioner contends that his conviction for assault on a female

does not satisfy the requirement for a crime of violence because this

conviction “is a class A1 misdemeanor, that provides a maximum term of

imprisonment of 150 days.” Petitioner’s Memorandum in Support of

Motion to Vacate, filed November 16, 2006, at 4.

      There are three prerequisites to a defendant being sentenced as a

career offender; 1) defendant was at least 18 years old at the time he

committed the instant offense; (2) the instant offense of conviction is a

felony that is either a crime of violence or a controlled substance offense;

and (3) the defendant has at least two prior felony convictions of either a

crime of violence or a controlled substance. U.S.S.G. § 4B1.1 (1993).

      Petitioner takes issue with one of his prior convictions. Specifically,

he contends that his conviction for assault on a female does not qualify as

a felony crime of violence because under North Carolina law such

conviction is a misdemeanor punishable by a maximum term of

imprisonment of 150 days. As such, Petitioner claims that his counsel was

ineffective for failing to raise this issue at his sentencing.




   Case 1:02-cr-00105-MR-WCM       Document 371     Filed 05/16/07   Page 5 of 8
                                      6

      Petitioner is incorrect. Petitioner was convicted of the crime of

assault on a female prior to October 1, 1994.1 Prior to that date, assault on

a female was punishable by a term of imprisonment of not more than two

years. N.C. Gen. Stat. § 14-33(b) (1992). Furthermore, the commentary

and application notes to § 4B1.2 of the Guidelines state that “‘prior felony

conviction’ means a prior adult federal or state conviction for an offense

punishable by death or imprisonment for a term exceeding one year,

regardless of whether such offense is specifically designated as a felony

and regardless of the actual sentence imposed.” Therefore, the amount of

time for which a prior offense is punishable is the controlling factor and not

whether such offense is designated as a felony or a misdemeanor in the

state system. On March 1, 1993, the date Petitioner committed the crime

of assault on a female, such crime was punishable by a term of

imprisonment of not more than two years. N.C. Gen. Stat. § 14-

33(b)(1992).

      Petitioner’s conviction for assault on a female was properly

considered by this Court as a prior felony conviction for a crime of violence



      1
       On October 1, 1994, the North Carolina Structured Sentencing Act
went into effect.


   Case 1:02-cr-00105-MR-WCM      Document 371    Filed 05/16/07   Page 6 of 8
                                        7

for purposes of career offender status. Therefore, Petitioner’s counsel was

not deficient for failing to object to Petitioner’s conviction for assault on a

female being considered as a prior felony conviction for a crime of violence

for purposes of Petitioner’s designation as a career offender.2

      Based on the Court’s review of the Petitioner’s motion and the

criminal proceedings, the Court finds the relevant record evidence

conclusively shows that Petitioner has not established his claim of

ineffective assistance of counsel and that he cannot satisfy either prong of

the Strickland test. Therefore, Rule 4(b) of the Rules Governing Section

2255 Proceedings requires this Court to dismiss the Petitioner’s motion.



                                  IV. ORDER

      IT IS, THEREFORE, ORDERED that the Petitioner’s motion to

vacate, set aside, or correct judgment is DENIED. A Judgment dismissing

this action is filed herewith.




      2
        Petitioner does not contest that his conviction for assault on a
female is a crime of violence. However, out of an abundance of caution,
the Court notes that Petitioner’s conviction for assault on a female also
satisfies the definition of crime of violence. See U.S.S.G. § 4B1.2(a).



   Case 1:02-cr-00105-MR-WCM       Document 371    Filed 05/16/07   Page 7 of 8
                                8

                                Signed: May 16, 2007




Case 1:02-cr-00105-MR-WCM   Document 371   Filed 05/16/07   Page 8 of 8
